       Case 20-12754-amc         Doc 23Filed 09/24/20 Entered 09/24/20 17:32:23                 Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

       SHAMIMA A RAHMAN                                      Chapter 13
       MISBAUR RAHMAN


                              Debtor                 Bankruptcy No. 20-12754-AMC

                                OBJECTION OF CHAPTER 13 TRUSTEE
                              TO CONFIRMATION OF PLAN OF DEBTOR(S)

       AND NOW comes, WILLIAM C. MILLER, ESQUIRE, chapter 13 standing trustee, to object to
confirmation of the chapter 13 plan of debtor(s), because it fails to comply with 11 U.S.C. Sections 1322
and/or 1325 of the Bankruptcy Code, and/or debtor(s) has/have failed to provide information,
evidence, or corrections to the petition, schedules, statements or other documents filed by debtor(s) to
enable the standing trustee to evaluate the Plan for confirmation, as follows:

The Plan violates 11 U.S.C. Section 1325(a)(4) in that the value of the property to be distributed under the plan
on account of each allowed unsecured claim is less than the amount that would be paid in a Chapter 7
liquidation.
The claims and/or claim amounts identified in the Plan are inconsistent with one or more filed proofs of claim.
The Plan is unclear and/or incorrect as to how the secured and priority claims are to be treated and/or paid by the
standing trustee.
Debtor(s) has/have failed to file amended schedules as directed at the meeting of creditors.

       WHEREFORE, the standing trustee requests that the Court enter an order in the form annexed hereto
denying confirmation of the Plan.


                                                     Respectfully submitted,

                                                       /s/ William C. Miller
                                                     William C. Miller, Esquire
                                                     Chapter 13 Standing Trustee
